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TO:

                         Mail Stop 8                                          REPORT ON THE
      Director of the U.S. Patent and Trademark Office                FILING OR DETERMINATION OF AN
                        P.O. Box 1450                                   ACTION REGARDING A PATENT
                 Alexandria, VA 22313−1450                                    OR TRADEMARK



      In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
          filed in the U.S. District Court for the Southern District of Texas on the following Trademarks or Patents.

 Docket No.               Date Filed:             U.S District Court
 4:23−cv−04065            10/25/2023              SOUTHERN DISTRICT OF TEXAS
 Plaintiff(s)                                            Defendant(s)
 Pride Houston, Inc.                                     The New Faces of Houston Pride, Inc.
    PATENT OR              DATE OF PATENT                      HOLDER OF PATENT OR TRADEMARK
  TRADEMARK NO.            OR TRADEMARK
                                           A copy of the complaint is attached.
 1.
 2.
 3.
 4.
 5.
                    In the above−entitled case, the following patent(s)/trademark(s) have been included:
 DATE INCLUDED            INCLUDED BY         Amendment      Answer    Cross Bill   Other Pleading
    PATENT OR              DATE OF PATENT                      HOLDER OF PATENT OR TRADEMARK
  TRADEMARK NO.            OR TRADEMARK
 1.
 2.
 3.
 4.
 5.
                 In the above−entitled case, the following decision has been rendered or judgment issued:
 DECISION/JUDGMENT




 Clerk:                                     By Deputy Clerk:                          Date:
 Nathan Ochsner, Clerk                      C Krus                                    10/26/2023
